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Drug War: How did we get into this mess?
  ghctotalhealth.org/uncategorized/drug-war-how-did-we-get-into-this-mess/




June 21, 2016 0 comments Article Uncategorized
An NJ.com reporter says big disasters are usually the fault of big governments and that the
failure of the War on Drugs was predicted from the outset. Even conservative commentators
recognized the dangers inherent in the all-out prohibition – after all, America already had one
prohibition experience to look back on.

Spot on predictions from William F. Buckley and Milton Friedman

Renowned newspaperman William F. Buckley and economist Milton Friedman were among
the thinkers who said the new “War on Drugs” would end badly. The legislation was broad,
and it was flawed. They also worried about the consequences of the move, and made a
prediction which turned out to be absolutely correct.

They didn’t need to look into a crystal ball to come up with it. For them, it was a matter of
simple logic. All that was needed was a peek back into US history, and the outcome of the War
on Drugs was obvious – at least to them.

During the Prohibition of alcohol, getting more bang for the buck was what criminals wanted.
Beer and wine were too bulky. There just wasn’t enough money in it, so they went for alcohol
in a more concentrated form – distilled spirits. It allowed them to easily transport a lot of
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  concentrated alcohol, and fortunes were made as gangsters cashed in on the new money-
  making racket.

  Buckley and Friedman said the same thing would happen with drugs. Marijuana wouldn’t be a
  huge money-spinner, and it would be bulky to move around, but cocaine and heroin would
  allow dealers to move around thousands of doses in small containers.

  The drug problem went from “manageable” to madness

  US Senator Scutari once said that authorities were wasting time trying to fight marijuana and
  that if that time could be used on “fighting heroin”, better results could be achieved. Nowadays,
  you can get a hit of heroin delivered to your house for less than a bag of pot would cost you.
  Heroin can kill you. Pot can’t. Heroin is highly addictive. Pot is only mildly addictive.

  What prohibition has, in essence achieved, is the popularization of heroin with underworld
  kingpins. A marijuana problem is manageable. The drug has a low potency and a low potential
  for harm, but the opioid epidemic is just the opposite.

  Senator Scutari heads for Colorado

  As an advocate for the full legalization of marijuana, Senator Scutari wants to look at how the
  legalization experiment is working for Colorado. He’ll be meeting with high-level officials to
  discuss legalization’s advantages – and to look at the setbacks and problems that Colorado
  has faced since it hit the headlines by legalizing pot.

  He already knows what some of the answers will be. Specifically, he knows how Colorado has
  benefitted from its move. Of course, there’s the tax revenue – millions of dollars of it – but
  Colorado has also been able to move the enforcement focus onto harder drugs. How much of
  an impact has that made? Scutari means to find out.

  What are our presidential candidates saying?

  There hasn’t been all that much talk about the War on Drugs in the primaries, but both Clinton,
  formally an outspoken advocate for the War on Drugs and Trump, who has said that
  legalization would be the only way to “win” the War on Drugs” have expressed support for the
  idea that states should be allowed to decide about marijuana legislation.

  But one of Trump’s most powerful advisors is decidedly pro-War on Drugs. He’s even on
  record as saying that if he had the political clout, he’d get the Colorado experiment shut down
  by the feds. If Trump changes his mind, it won’t be the first time he has done so.

  Columnist says we can’t expect action at federal level

  Despite high hopes (no pun intended) the columnist says we can’t expect federal government
  to act. So far drug prohibition has had exactly the effects predicted by great thinkers, but
  governments are not run by “great thinkers”. Instead, they’re run by people who can get a lot of
  votes, and the War on Drugs is low on the vote-getting agenda.

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  Catch the real criminals

  As things stand, just being a drug user or addict makes you a criminal, regardless of your
  actions. But, the columnist concludes, going after drug users regardless of whether their
  behaviour has otherwise been blameless, hasn’t worked.

  What’s your opinion? A regulated, legal drug industry means that government can control
  drugs, pulling the carpet on criminals looking to make a fast buck with potentially deadly drugs.
  Addicts would be able to get medical help without fearing they’ll be in legal trouble, and safe
  injection sites could lead to a decrease in drug-related fatalities.

  Is the US ready for this kind of legislation, or will the war on drugs continue to drag on?

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